      Case: 1:22-cv-01276 Document #: 14-1 Filed: 03/29/22 Page 1 of 3 PageID #:111
                      Registration #:   VAu001453891
                   Service Request #:   1-11116128801




Mail Certificate


Andrew Jurgensen
444 Cass St Ste D
Traverse City, MI 49684




                            Priority:   Special Handling          Application Date:   January 19, 2022


Correspondent



                              Name:     Andrew Jurgensen
                              Email:    drew@revisionlegal.com
                          Telephone:    (231)714-0100
                            Address:    444 Cass St Ste D
                                        Traverse City, MI 49684
            Case: 1:22-cv-01276 Document #: 14-1 Filed: 03/29/22 Page 2 of 3 PageID #:112




                                                                                     Registration Number
                                                                                     VAu 1-453-891
                                                                                     Effective Date of Registration:
                                                                                     January 19, 2022
                                                                                     Registration Decision Date:
                                                                                     January 20, 2022




    Title
                         Title of Work:   XiaLand


    Completion/Publication
                   Year of Completion:    2022

    Author

                     •       Author:      XiaLand LLC
                      Author Created:     photographs
                   Work made for hire:    Yes
                           Citizen of:    United States

    Copyright Claimant

                   Copyright Claimant:    XiaLand LLC
                                          444 Cass Street Ste D, Traverse City, MI
0


1
     Rights and Permissions

                                Name:     Andrew Jurgensen
                                Email:    drew@revisionlegal.com
                            Telephone:    (231)714-0100
                              Address:    444 Cass St Ste D
                                          Traverse City, MI 49684

    Certification

                                 Name:    Andrew Jurgensen
                                  Date:   January 19, 2022
                                  Date:   January 19, 2022

                                                                                                                Page 1 of 2
Case: 1:22-cv-01276 Document #: 14-1 Filed: 03/29/22 Page 3 of 3 PageID #:113




                               Approved
     Copyright Office notes:   Regarding title information: Deposit contains complete list of titles that
                               correspond to the individual photographs included in this group.this an extra line
                               added to differentiate between two annotations with an space
                               Regarding group registration: A group of unpublished photographs may be
                               registered on one application with one filing fee only under limited
                               circumstances. ALL of the following are required: 1. All photographs (a) are
                               unpublished AND (b) were created by the same author AND (c) are owned by
                               the same copyright claimant AND 2. The group contains 750 photographs or less
                               AND 3. A sequentially numbered list of photographs containing the title and file
                               name for each photograph included in the group must be uploaded along with
                               other required application materials. The list must be submitted in an approved
                               document format such as .XLS or .PDF. The file name for the numbered list
                               must contain the title of the group and the Case Number assigned to the
                               application.this an extra line added to differentiate between two annotations with
                               an space




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